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                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO

In re:                                                  )
          WHOLE SAILING LLC                             )       CASE NO. 17-13032
                                                        )
                                                        )       CHAPTER 11
                         Debtor                         )
                                                        )       JUDGE PRICE SMITH




         DEBTOR’S BRIEF ON STANDING AND COLLATERAL ESTOPPEL ISSUES
                                          INTRODUCTION
          Debtor has raised the issue of standing and in its opposition the debtor’s request for a

document examiner, Creditor, The Bank of New York Mellon Trust Company, National

Association, has suggested that Debtor may not raise standing issues under theories of collateral

estoppel, res judicata, or the Rooker – Feldman Doctrine. Debtor suggests that the issue of

standing is properly before the Court based on the Court’s own duty to examine its jurisdiction,

and further suggests that because of the circumstances of the cases between the Debtor or

Debtor’s principal in the State Court, Debtor is not precluded from raising the issue.

                                  STANDING AND JURISDICTION

          Bank of New York Mellon suggests that because State Courts in Ohio found that it had

standing, under the Rooker – Feldman Doctrine standing may not be challenged. However, from

Debtor’s perspective, that analysis misses the point. It is a well-established principal of law that

jurisdiction may be challenged at any time, even at the level of the Supreme Court of the United

States. See Wyatt, infra. Jurisdictional arguments may not be waived and, as will be set forth




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below, Bank of New York Mellon relies on waiver arguments in the Ohio Courts to establish its

claim for res judicata or collateral estoppel.

                                  STANDING / JURISDICTION

       Because standing and jurisdiction are interrelated, this Court must consider the issue of

standing. In order for this Court to proceed to determine the Motion for Relief From Stay filed

by Bank of New York Mellon, Bank of New York Mellon must have standing. It is that standing

that Debtor wishes to challenge. The Court in In Re Wyatt, Wyatt vs. Nowlin 338BR76

(BKYWDMO.2006) explained

               “ In their post-trial brief, Defendants argue that Plaintiff lacks standing to bring
       the claim and that, as a result, the Court lacks subject matter jurisdiction. Defendant is
       correct that the Eighth Circuit has held that if a Plaintiff lacks standing to assert a claim,
       the Court lacks subject matter jurisdiction over the claim, because there is no case or
       controversy, one of the principal constitutional requirements for the Court’s jurisdiction
       (Republican Party of Minnesota vs. Klobuchar, 381 F3rd 785 (8th Circuit 2004) et al.
       Since the absence of standing implicates subject matter jurisdiction and the absence of
       subject matter jurisdiction may be raised at any time, Defendant’s contention that
       Plaintiff lacks standing is not waived by reason of their not having asserted the defense in
       their answer and it must, therefore, be addressed by the Court.” At p. 78.
       Judge Kendig of this Court, has addressed the jurisdiction issue in an opinion not

intended for publication entitled Pidcock vs. Laurence vs. Goddard ADV14-6016 (Bky., N.D.

Ohio, 2014 [10/17 opinion]). In that case, Judge Kendig explained that even though Defendants

consent to the jurisdiction of the court, nevertheless, the Court has a duty to review its exercise

of subject matter jurisdiction (at page 2). Standing must exist in order for a Court to determine

whether a case or controversy exists in order to invoke federal jurisdiction Cohn v. Brown 161

Fed APP’X 450,454 (6th Circuit 2005). Since standing is a basis for jurisdiction, it is a

paramount inquiry (Cohn at 454). In Harman vs. Devilla, another unpublished opinion from the

6th Circuit Bap, 326 BR 901 (6th Circuit BAP 2005), the Bankruptcy Appellate Panel of the 6th




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Circuit cited approvingly Board of County Commissioners vs. WHI, Inc. 992 F2nd 1061 (10th

Circuit 1993), which stated that standing is a threshold issue which must be resolved before

Federal Court exercises jurisdiction and thus standing may be raised at any time. Even if

standing is not raised by the parties, the Court may consider it sua sponte and determine that lack

of standing is a bar to relief (Harman page 3). By the very nature of this matter, Federal Court

jurisdiction needs to be invoked in order for the Bankruptcy Court to proceed. Rooker - Feldman

is irrelevant to this analysis because a Federal Court must determine its own jurisdiction.

Whether the State Court determined its own jurisdiction has no bearing on whether the Federal

Court has jurisdiction. Therefore, the issues are separate and this Court may proceed to

determine its own jurisdiction.

       The overwhelming precedent leads to the conclusion that jurisdictional arguments may

not be waived. Although not set forth in Bank of New York Mellon’s response, the decision of

the Cuyahoga County Court of Common Pleas and the Eighth District Court of Appeals cited in

that response was that Debtor and Debtor’s principal in that case, had not properly raised the

issue of standing and had therefore waived it. See Court of Appeals decision at para. 27.

However, to the extent standing is jurisdictional it cannot be waived. The Ohio Court’s reliance

on Bank of America, N.A. v. Kuchta, 141 Ohio St.3d 75, 21 N.E.3d 1040, 2014-Ohio-4275

(2014) is misplaced. Kuchta was a 60(B) case and the dissent is instructive. Therefore, the

Rooker - Feldman argument does not pass muster and in fact the Court should consider the issue

of standing to determine its own jurisdiction.

                        RES JUDICATA/COLLATERAL ESTOPPEL

       Movant suggests that the issue of standing has already been resolved by the Court of

Appeals of Ohio and that therefore res judicata applies. It is important to note that the federal




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bankruptcy court analysis of res judicata is not the same in bankruptcy proceedings as it is in

state court. As the court in Pidcock v. Laurence, supra, stated:

       "[b]ecause a bankruptcy case is fundamentally different from the typical civil action,

comparison of a bankruptcy proceeding with another proceeding is not susceptible to the

standard res judicata analysis. Rather, the court must scrutinize the totality of the circumstances

in each action and then determine whether there is identity of the causes of action." HSBC Bank

USA, N.A. v. Adelphia Commc'ns Corp., 2009 WL 385474, * 12 (W.D.N.Y. 2009) (citing

Oneida Motor Freight, Inc. v. United Jersey Bank, 848 F.2d 414, 419 n. 5 (3rd Cir. 1988)). At p.7

of the opinion.

       Therefore, movant’s somewhat automatic argument of res judicata must fail. An analysis

of the totality of the circumstances results in the conclusion that movant’s argument is really one

of collateral estoppel or issue preclusion. After all, movant’s argument is that Debtor should be

precluded from raising the standing issue because of a decision of the Ohio Court of Appeals.

The Sixth Circuit has defined the elements of collateral estoppel or issue preclusion as follows: “

       “This court has held that the four requisites for issue preclusion are: 1) the issue

precluded must be the same one involved in the prior proceeding; 2) the issue must actually have

been litigated in the prior proceeding; 3) determination of the issue must have been a critical and

necessary part of the decision in the prior proceeding; and 4) the prior forum must have provided

the party against whom estoppel is asserted a full and fair opportunity to litigate the issue.”

N.L.R.B. v. Master Slack and/or Master Trousers Corp., 773 F.2d 77, 81 (6th Cir.1985 At 259)

       Because the standing issue was decided by the Ohio Court of Appeals based on waiver,

the issue was not actually litigated and therefore issue preclusion does not apply. This was




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explained by the 10th circuit in the case of In re Zwanziger 741 F.3d 74 (10th Cir. 2014), as

follows:

                “But a waiver finding in one case is not the type of finding entitled to issue
       preclusion in another case. See 18A Charles Alan Wright et al., Fed. Prac. & Proc. Juris.
       § 4443 (2d ed., 2002 & Supp. Apr. 2013) (" [I]ssue preclusion is inappropriate [ ] because
       ... pleading maneuvers in one suit should not carry such consequences in other suits.");
       see also Borges Colon v. Roman-Abreu, 438 F.3d 1, 19 (1st Cir.2006) (" Where there has
       been no hearing, and therefore no findings, there can be no issue preclusion."). Rather,
       waiver as a general matter is a procedural determination that governs only the case in
       which it is made— not another case— except in the rare instance when waiver is imposed
       as a sanction intended to preclude future litigation of that substantive issue. See, e.g., In
       re Corey, 583 F.3d at 1252 (applying issue preclusion based on a prior court's sanction
       because “applying preclusion doctrine here is likely to discourage obstructive and
       delaying tactics”). And here, no one contends that Hamilton and Kus's waiver of
       emotional damages in the prior appeal was imposed as a sanction. A Sixth Circuit case
       is instructive. In Diamond v. Howd, 288 F.3d 932 (6th Cir.2002), the plaintiff had waived
       a hearing on probable cause in a prior case. Yet the Sixth Circuit found the plaintiff was
       not precluded from litigating probable cause in a subsequent case because she never
       actually litigated whether there was probable cause in the first case. See id. at 935-36.[5]
       This logic applies here: In the prior appeal, Hamilton and Kus litigated whether they had
       waived emotional distress damages by omission in a pretrial order. We decided that they
       did. Hamilton, 302 Fed.Appx. at 797. We did not, however, decide the merits of
       Hamilton and Kus's claim for emotional distress damages. Accordingly, Hamilton, Clark
       (as the trustee of Hamilton's bankruptcy estate), and Kus are not precluded from litigating
       the issue of emotional damages in another case under a different pretrial order, as
       happened here. See Aplt. Br., Ex. B (bankruptcy court's own final pretrial order).” At 78

       Similarly, in this case, the Ohio Court of Appeals relied on waiver in their case. That case

is not this case and under the law as above-cited, the argument must fail and debtor must be

permitted to raise the issue of standing.

                                                     Respectfully submitted,
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                                  CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing was electronically transmitted on
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